      Case 3:14-cr-01748-GPC                 Document 145            Filed 02/10/17               r---------
                                                                                            PageID.558 Page 1 of 2'''-----,
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AO 2458 (CASDRev. 08113) Judgment in a Criminal Case for Revocations
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                                    UNITED STATES DISTRICT COURT sOJ~~~it;. 5i~T;ii~~G:X:=~~;;- ',,~
                                          SOUTHERN DISTRICT OF CALIFORNIA                               BV                            lE'~TY

             UNITED STATES OF AMERlCA                                JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)
                               v.                                    (For Offenses Committed On or After November I, 1987)
                   PABLO ALVAREZ (t )
                                                                        Case Number:        14CR1748-GPC

                                                                     GERARDO A. GONZALEZ
                                                                     Defendant's Attorney
REGISTRATION NO.               47352298
0­
THE DEFENDANT:
IZI admitted guilt to violation of allegation(s) No.        1

o was found guilty in violation ofallegation(s) No.                                                   after denial of guilty.
                                                          --------------------------
Accordin~ly, the court has adjudicated that the defendant is guilty of the following allegation(s):


Allegation Number                 Nature of Violation
            1                     Failure to be truthful and/or follow instructions




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic.circumstances.

                                                                     FEBRUARY 10.2017
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                                                                         t::d~
                                                                     HON. Gonzalo P. Curiel                  ,.
                                                                     UNITED STATES DISTRICT JUDGE




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      Case 3:14-cr-01748-GPC             Document 145        Filed 02/10/17      PageID.559        Page 2 of 2

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

DEFENDANT:                PABLO ALVAREZ 0)                                                        Judgment - Page 2 of2
CASE NUMBER:              14CR1748-GPC

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 SIX (6) WEEKS




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States MarshaL

 o     The defendant shall surrender to the United States Marshal for this district:
       o     at                            A.M.              on
       o
                ------------------
             as notified by the United States Marshal.
                                                                  -------------------------------------

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on
                                --------------------------- to
 at                                       , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL




                                                                                                      14CR1748-GPC
